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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

JILL DILLARD, JESSA SEEWALD,                                                         PLAINTIFFS
JINGER VUOLO, and JOY DUGGAR

vs.                            CASE NO. 5:17-5089-TLB

CITY OF SPRINGDALE, ARKANSAS;                                                      DEFENDANTS
WASHINGTON COUNTY, ARKANSAS;
KATHY O’KELLEY, in her individual and
official capacities;
ERNEST CATE, in his individual and official capacities;
RICK HOYT, in his individual and official capacities;
STEVE ZEGA, in his official capacity;
And DOES 1-10, inclusive


       BRIEF IN SUPPORT OF RESPONSE TO MOTION FILED BY ARKANSAS
    DEPARTMENT OF HUMAN SERVICES TO QUASH SUBPOENA DUCES TECUM
                                  AND
       REQUEST FOR ORDER TO COMPEL PRODUCTION OF SUBPOENAED
                              DOCUMENTS




I. The Motion to Quash Should Be Denied

       A. The Motion to Quash is Untimely

       The Sprindale Defendants served a Subpoena Duces Tecum upon the Department of

Human Services (“DHS”) on August 2, 2021, with a stated date of compliance of August 10, 2021.

DHS filed a Motion to Quash the Springdale Defendants’ Subpoena Duces Tecum (“DHS

Motion”) on August 16, 2021. Pursuant to Fed. R. Civ. P. 45(d)(2)(B) 1, the DHS Motion, filed

beyond the date of compliance and 14 days after service, is untimely and should be denied.




1
  Fed. R. Civ. P. 45(d)(2)(B) states . . . “The objection must be served before the earlier of the
time specified for compliance or 14 days after the subpoena is served”.
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       B. The DHS Motion Relies Solely on State Law which is Preempted by Federal Law

       The DHS Motion cites to the Arkansas Child Maltreatment Act at Ark. Code Ann. §12-18-

101 et seq. for its reason to withhold the records sought in the Springdale Defendants’ Subpoena.

No other justification was cited. “Under the Supremacy Clause of the U.S. Constitution, federal

law will override state law in three instances: (1) express preemption, i.e., when Congress

expressly preempts state law; (2) field preemption, i.e., when congressional intent to preempt may

be inferred from the existence of a pervasive federal regulatory scheme; or (3) conflict

preemption, i.e., when state law conflicts with federal law or its purposes and preemption is

implied. ”Sykes v. Glaxo-SmithKline, 484 F. Supp. 2d 289, 296 (E.D. Pa. 2007) (citing English v.

General Elec. Co., 496 U.S. 72, 78-79 (1990). In the Enabling Act, codified at 28 U.S.C. § 2072,

Congress gave the Supreme Court the power to promulgate the Federal Rules of Civil Procedure.

The purpose of the Enabling Act “was to reverse the philosophy of conformity to local state

procedure and establish, with but few specific exceptions, an approach of uniformity within the

whole federal judicial trial system.” Monarch Ins. Co. of Ohio v. Spach, 281 F.2d 401, 408 (5thCir.

1960); see also Hanna v. Plumer, 380 U.S. 460, 472 (1965) (“'One of the shaping purposes of the

Federal Rules is to bring about uniformity in the federal courts by getting away from local rules”).

The reliance by DHS on a state law to thwart a properly served subpoena under Fed. R. Civ. P. 45

is improper and the DHS Motion should be dismissed.

       C. The Documents Sought via the Subpoena are Material to the Defense

       Further, the nexus of Plaintiffs’ claims against the Springdale Defendants is the allegation

that the molestation by their brother, Joshua Duggar, was private information not within the public

knowledge. Upon information and belief, after a call to the Arkansas Child Abuse Hotline on

December 7, 2006, several state agencies, including DHS, were involved in the investigation of
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the molestation claims and therefore would have relevant information to the Springdale

Defendants’ assertion that the facts surrounding the Plaintiffs’ molestation by Joshua Duggar was

within the public knowledge prior to the release of the redacted Springdale Police Report.

       The Defendants have a substantial and compelling need for the documentation in the

possession of DHS. Upon information and belief, Joshua Duggar was placed on the sex offender

registry and a legal proceeding was undertaken to remove Joshua Duggar from the sex offender

registry. The Defendants are entitled to this information and documentation due to one of the

central elements of Plaintiffs claims being public disclosure of private information. If Joshua

Duggar was placed on the sex offender registry other information such as incest, molestation of

family members, or other identifying information could have led to the disclosure of the

information Plaintiffs claim was private and not known to the public.               Additionally,

correspondence between Joshua Duggar and/or his agents in the possession of DHS regarding his

removal from the sex offender registry could provide information as to the public knowledge of

Joshua Duggar’s acts of molestation and his victims.

        There is a Protective Order in this case that will adequately protect any privileged

information and documentation received from DHS.

       For these reasons the DHS Motion should be denied and this Court should enter an order

compelling DHS to comply with the Springdale Defendants’ Subpoena.




                                                    Respectfully Submitted,
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                                 CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that on the 30th day of August 2021, a true and correct
copy of the above and foregoing was filed using the Court’s CM-ECF System, which effected
service on all counsel of record:

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